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                     THE UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


 In Re: RFC and ResCap Liquidating Trust            Court File No. 13-cv-3451 (SRN/HB)
 Litigation
                                                   MEMORANDUM OF LAW IN
                                                  OPPOSITION TO DEFENDANT
 This document relates to:                        HOME LOAN CENTER, INC.’S
                                                    RENEWED MOTION FOR
 ResCap Liquidating Trust v. Home Loan                 JUDGMENT AS A
 Center, Inc., No. 14-cv-1716 (SRN/HB)                MATTER OF LAW


       Plaintiff ResCap Liquidating Trust (“Plaintiff”) respectfully submits this

memorandum in opposition to Defendant Home Loan Center, Inc.’s (“HLC”) Renewed

Motion for Judgment as a Matter of Law [Doc. No. 5150] (“Motion”). For the reasons

stated on the record at trial and in the Court’s well-reasoned orders, including the Omnibus

Order Re: Rule 50(a) JMOL Motions [Doc. No. 5131] (“JMOL Order”), Memorandum

Opinion and Order [Doc. No. 4471] (“Daubert Order”); and Memorandum Opinion and

Order on Common-Issue Motions for Summary Judgment [Doc. No. 4307] (“SJ Order”),

as well as Plaintiff’s prior submissions and arguments, HLC’s Motion should be denied.

                                      ARGUMENT

       First, HLC is not entitled to judgment as a matter of law with respect to the Ambac

and Syncora Settlements. The sampling methodology of Plaintiff’s expert, Dr. Karl Snow,

provided a sufficiently reliable basis for determining an aggregated breach rate and

extrapolating that breach rate across the Settlements. See Daubert Order at 11–14; SJ

Order at 176; Trial Tr. 2422–2423. Moreover, Plaintiff’s unrebutted fact and expert

testimony established causation as a matter of law, see JMOL Order at 25–29, and HLC’s

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arguments regarding the Ambac and Syncora Settlements go to the credibility of Plaintiff’s

expert and the weight of the evidence regarding damages, which remained for the jury to

decide, see JMOL Order at 27; Trial Tr. 2422. Plaintiff incorporates by reference all of its

prior arguments. See, e.g., Trial Tr. 2412–2415, 2420–2422, 2889-2902; Pl.’s Causation

Br. [Doc. No. 4674]; Pl.’s Mem. in Supp. Mot. Summ. J. on Common Issues (“Pl.’s SJ

Mem.”) [Doc. No. 3243] at 46–52; Pl.’s Mem. in Opp’n Mot. Summ. J. on Common Issues

(“Pl.’s SJ Opp’n”) [Doc. No. 3720] at 61–66; Pl.’s SJ Reply [Doc. No. 3909] at 26–28;

Pl.’s Mem. in Opp’n Mot. to Exclude Experts (“Pl.’s Daub. Opp’n”) [Doc. No. 3713] at

1–19.

        Second, HLC is not entitled to judgment as a matter of law based on its argument

that “Plaintiff failed to present sufficient evidence for a jury to award damages with a

reasonable degree of certainty with respect to either the Trust Settlement or the Monoline

Settlements” (HLC JMOL Br. at 1). Dr. Snow’s allocated breaching loss damages model

provided the jury with a non-speculative basis for determining damages as to the

Settlements. See SJ Order at 149–151, 163–176; Daubert Order at 7; Trial Tr. 2422–2423.

Moreover, Plaintiff met its burden of proof regarding damages, and HLC’s arguments go

to the weight of the evidence. Trial Tr. 2422. Plaintiff incorporates by reference all of its

prior arguments. See, e.g., Trial Tr. 2413–2415; 2420–2422; Pl.’s SJ Opp’n at 4, 11–30;

Pl.’s Daub. Opp’n at 1–19.

        Third, HLC is not entitled to judgment as a matter of law with respect to the MBIA

Settlement. Among other things, (1) HLC never raised the aiding and abetting fraud claim


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during trial and failed to cross-examine Plaintiff’s expert Donald Hawthorne regarding the

claim; (2) HLC’s argument was based solely on hearsay allegations in the MBIA proof of

claim, which the Court properly instructed the jury that they could not consider for the truth

of the matter asserted therein; (3) there was no evidence at trial that the aiding and abetting

claim was material or had any value; and (4) RFC was under no obligation to allocate this

immaterial claim in order to articulate a reasonably certain measure of damages. See JMOL

Order at 6–7. Plaintiff incorporates by reference all of its prior arguments. See, e.g., Pl.’s

Opp’n to Def.’s JMOL [Doc. No. 4688]; Trial Tr. 3338–3349.

       Fourth, HLC is not entitled to judgment as a matter of law based on the arguments

it raised on summary judgment. Among other things:

       (1) Plaintiff presented the jury with a non-speculative basis for allocating the Trust

           Settlement based on expert testimony, including Dr. Snow’s allocated

           breaching loss damages methodology. See, e.g., SJ Order at 149–150, 163–

           176; Pl.’s SJ Opp’n at 4, 11–30.

       (2) Plaintiff presented the jury with a non-speculative basis for allocating the

           Monoline Settlement based on expert testimony, including Dr. Snow’s

           allocated breaching loss damages methodology. See, e.g., SJ Order at 149–151,

           163–176; Pl.’s SJ Opp’n at 4, 11–30.

       (3) Plaintiff is entitled to indemnity notwithstanding assertions of RFC’s alleged

           misconduct, because there has been no finding that RFC engaged in fraud or

           other misconduct with respect to the claims underlying the Settlements, and the


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    Client Guide expressly permits RFC to seek indemnification for its own

    negligence. See, e.g., SJ Order at 31–42; Pl.’s SJ Mem. at 44–46; Pl.’s SJ Opp’n

    at 34–41; Pl.’s SJ Reply at 25.

(4) Plaintiff’s indemnity claim for loans sold before May 14, 2006 is not time-

    barred, because the claim did not accrue under Minnesota law until at least

    December 2013. See, e.g., SJ Order at 139–142, 145–148; Pl.’s SJ Opp’n at 54.

(5) Plaintiff is not barred from recovering on “expired loans,” because the Client

    Guide provides that RFC’s rights and remedies survive loan liquidation. See,

    e.g., SJ Order at 42–50; Pl.’s SJ Opp’n at 55–61.

(6) Plaintiff’s liabilities relating to credit grade and documentation representations

    and warranties (“pool-wide representations”) are indemnifiable. See, e.g., SJ

    Order at 100–103; Pl.’s SJ Opp’n at 41–47.

(7) Plaintiff’s Settlement with MBIA was reasonable and is indemnifiable. See,

    e.g., JMOL Order at 7–21; Trial Tr. 2912–27, 2953–2958, 2973–2984; Pl.’s

    Reasonableness & Servicing Br. at 1-14 [Doc No. 4673]; Pl.’s SJ Opp’n at 47–

    49.

(8) Plaintiff was properly permitted to use statistical sampling to establish liability,

    rather than loan-by-loan proof, because statistical sampling is an accepted

    method of proving liability in RMBS cases involving large amounts of

    mortgage loans, and Dr. Snow’s sampling methodology was reliable. See, e.g.,




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           SJ Order at 57–69; Pl.’s SJ Mem. at 46–52; Pl.’s SJ Opp’n at 61–66; Pl.’s SJ

           Reply at 26–28.

      (9) Plaintiff is entitled to indemnity for all losses and liabilities incurred on

           breaching loans under the Client Guide. See, e.g., SJ Order at 50–57, 81–90;

           Pl.’s SJ Mem. at 16–25; Pl.’s SJ Opp’n at 5–8; 50–52; Pl.’s SJ Reply at 9–19.

      (10) Plaintiff’s expert opinions are admissible. See, e.g., Daubert Order at 5–14,

           25–45; Pl.’s Daub. Opp’n at 1–19, 38–54.

      In addition to all the expressly referenced prior arguments and order passages cited

above, and whether or not expressly referenced herein, Plaintiff incorporates in their

entirety by reference all of its prior arguments, as well as the holdings set forth in the

Court’s prior written and oral decisions, on all the issues relevant to this motion. See

generally, e.g., Pl.’s SJ Mem.; Pl.’s SJ Opp’n; Pl.’s SJ Reply; Pl.’s Daub. Opp’n.; JMOL

Order; SJ Order; Daubert Order.

                                    CONCLUSION

      For the foregoing reasons, Plaintiff respectfully requests that the Court deny HLC’s

Motion.




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Dated: July 12, 2019

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